       Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 1 of 15




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS




IN RE: NEW ENGLAND
COMPOUNDING PHARMACY, INC.                              MDL No. 1:13-md-02419
PRODUCTS LIABILITY LITIGATION
                                                        Hon. F. Dennis Saylor, IV
This Document Relates To:

All Cases

____________________________________



   OPPOSITION TO TRUSTEE’S MOTION TO TRANSFER FILED ON BEHALF OF
    VIRGINIA PLAINTIFFS IN CASES NOT NAMING NECC AS A DEFENDANT


       The Trustee for the Estate of New England Compounding Pharmacy, Inc.

(“NECC” or the “Debtor”) has moved to transfer numerous personal injury cases

pending in various courts to the United States District Court for the District of

Massachusetts pursuant to 28 U.S.C. §§ 157(b)(5) and 1334(b). Exhibit A4 of the

Trustee’s motion identifies “Cases Naming Non-Debtor Defendants Only.” The majority

of these cases were filed in Roanoke, Virginia, against Insight Health Corp., Insight

Health Services Corp., Image Guided Pain Management, P.C., John Mathis, M.D., and

Robert O’Brien, M.D., (the “Insight Defendants”), and include cases brought by the

following plaintiffs represented by the Frith & Ellerman Law Firm: Chance Everett Baker;

Patrick Johnston; and, Ferman Wertz (the “Roanoke Frith & Ellerman Plaintiffs”).

       The Roanoke Frith & Ellerman Plaintiffs appear specially, by counsel, to oppose

the Trustee’s motion to transfer on the following grounds: (a) the “related to” jurisdiction



                                             1
         Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 2 of 15




under 28 U.S.C. § 1334(b) does not extend to these non-debtor cases because the

Insight Defendants are unaffiliated with the debtor and the only possible connection is a

potential, unliquidated claim for contribution; (b) the Court should nonetheless abstain

from exercising jurisdiction under 28 U.S.C. § 1334(c)(1) because these non-debtor

cases involve unique and novel Virginia state-law theories of recovery.1

         For the reasons set forth below, the Roanoke Frith & Ellerman Plaintiffs

respectfully request that the Court deny the Trustee’s motion to transfer its cases.


                                                   Background

         The Roanoke Frith & Ellerman Plaintiffs filed complaints in Virginia state court

against the Insight Defendants after they received a contaminated steroid injection at

the Insight Defendants’ clinic and medical practice. The contaminated steroid injection

was a drug called methylprednisolone acetate (“MPA”) that had been sold to the Insight

Defendants by NECC or a related distributor.2 The Insight Defendants negligently and

fraudulently administered MPA to each of the plaintiffs. Several months before their

complaints were filed, NECC filed for bankruptcy protection in the United States District

Court for the District of Massachusetts. The Roanoke Frith & Ellerman Plaintiffs had not

yet completed its investigation in these cases prior to the bankruptcy filing, but

nonetheless, they are not creditors of NECC nor have they filed a proof of claim against




1 The Roanoke Frith & Ellerman Plaintiffs join the Roanoke Gentry Locke Plaintiffs in opposing the Trustee’s motion

and moving the Court to abstain from exercising “related to” jurisdiction in non-debtor cases for the reasons stated in
the Roanoke Gentry Locke Plaintiffs’ memorandum of law filed on March 19, 2013 in Case No. 1:12-cv-12052-FDS.
2 The plaintiffs initially named Alaunus Pharmaceutical, LLC, as a defendant. The cases were removed to federal court.

On April 29, 2013, the plaintiffs submitted a Notice of Voluntary Dismissal in the United States District Court for the
Western District of Virginia, effectively removing Alaunus from each case. The remaining state law claims are exclusively
focused on the Insight defendants, who are unaffiliated, non-debtor parties.

                                                            2
       Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 3 of 15




NECC at this time. Their claims against the Insight Defendants are based on different

facts and arise solely from the activities of the unaffiliated non-debtor parties.

       Each complaint has asserted the following theories of recovery under Virginia

law: negligence, negligence per se, fraud, breach of express warranty, and breach of

implied warranty. The negligence claim is based on the Insight Defendants’ failure to

exercise reasonable care in treating the plaintiffs for back pain and is governed by

Virginia common law and the Virginia Medical Malpractice Act, Va. Code § 8.01-581.1,

et seq. The negligence per se claims are based on a violation of the Virginia Drug

Control Act. When a Virginia statute is adopted for public safety and the plaintiff is a

member of the class of persons intended to be protected, and a violation of the statute

causes injury, the plaintiff may recover damages without proof of actual negligence.

       The claims against the Insight Defendants for fraud, breach of implied warranty,

and breach of express warranty are based on allegations that the Insight Defendants

deceived each plaintiff regarding the quality, identity and source of the MPA injected

into their bodies. For example, the Insight Defendants told each plaintiff they were

injected with Depo-Medrol, a brand name, trademarked drug made by Pfizer, Inc., which

they billed to each insurer and wrote in the medical charts. Instead, the Insight

Defendants had injected the plaintiffs with MPA, not Depo-Medrol. This pattern of

practice may have been motivated by the Insight Defendants’ desire to actively conceal

the true source of the compounding medication it selected for its patients from the

discerning scrutiny of health insurers and primary care doctors.

       Under Virginia law, a plaintiff asserting a cause of action for actual fraud bears

the burden of proving by clear and convincing evidence (a) a false representation, (b) of



                                              3
       Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 4 of 15




a material fact, (c) made intentionally and knowingly, (d) with intent to mislead, (e)

reliance by the party misled, and (f) resulting damage to the party misled. Evaluation

Research Corp. v. Alequin, 247 Va. 143, 148 (1994) (citing Bryant v. Peckinpaugh, 241

Va. 172, 175 (1991)). Whether a claim for active fraud to a third party (the health insurer

or the primary care doctor) may be asserted by the intended beneficiary (the patient-

plaintiff) is a complicated, unsettled area of Virginia law. By bringing their claims in

Virginia courts, the Roanoke Frith & Ellerman Plaintiffs have chosen a forum best suited

to address these distinct, unique areas of state law against the non-debtor defendants.


                             Statement of Relevant Facts

      The state-court complaints involve a common set of factual allegations against

the Insight Defendants, except for individual details concerning medical treatment and

damages. Rather than append all of the complaints to this brief, Chance Everett Baker’s

complaint is provided as representative of the allegations (attached as Exhibit A).

      On September 12, 2012, the Insight Defendants injected Mr. Baker with MPA at

Insight’s Roanoke facility under the false pretense that it was another drug called Depo-

Medrol. Exhibit A at 5-6, ¶¶32-34. Depo-Medrol is a drug made by Pfizer, Inc., to treat

allergies and inflammation. Id. at 5-6, ¶¶32-34. When the Insight Defendants injected

Mr. Baker with MPA, purported to be Depo-Medrol, he expected to receive medication

to relieve back pain. Id. at 3, ¶10. Months earlier, the Insight Defendants had ordered

batches of MPA for the Roanoke facility from NECC or a related distributor. Id. at 4, ¶19.

The Insight Defendants knew that NECC products manufactured after May 2012 could

be contaminated. Id. at 21, ¶26. Despite this knowledge, the Insight Defendants injected

Mr. Baker with MPA and mislead him and his insurer to believe it was Depo-Medrol. Id.

                                            4
       Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 5 of 15




at 6, ¶¶37-39. Both Mr. Baker’s bill for services and his medical records from the Insight

Defendants identified the drug as Depo-Medrol, not MPA. Id. at 6, ¶¶37-39.

       On October 4, 2012, the Insight Defendants called Mr. Baker at home to advise

that he had received contaminated MPA. Id. at 6, ¶41. Several days later, he began

experiencing symptoms consistent with fungal meningitis, including nausea and severe

headaches. Id. at 6, ¶42. He went to Carilion Roanoke Memorial Hospital, where he

was diagnosed with fungal meningitis and began receiving in-hospital treatment. Id. at

7, ¶¶44-46. During his hospitalization, he experienced the debilitating side effects of

treating meningitis. He suffered from uncontrollable shaking, swelling, and elevated

heart rate. He lost control of his bowel movements and required a catheter.

       Throughout this experience, he worried that his wife, who was several months’

pregnant with their child, had somehow contracted the infection or their newborn might

be harmed. As a proximate result of the defendants’ fraud and negligence, Mr. Baker

incurred significant medical expenses and suffered extraordinary physical pain and

suffering, loss of enjoyment of life, and other injuries and damages. Id. at 13.


                                        Argument

A.     The “related to” jurisdiction under 28 U.S.C. § 1334(b) does not extend to
       the Roanoke Cases against the Insight Defendants.

       The Court has original but not exclusive jurisdiction over civil proceedings that

are “related to” the bankruptcy case. 28 U.S.C. § 1334(b) (“[t]the district courts shall

have original but not exclusive jurisdiction of all civil proceedings … related to cases

under title 11.”). Such claims are “related to” the bankruptcy case if “the outcome of that

proceeding could conceivably have any effect on the estate being administered in



                                             5
       Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 6 of 15




bankruptcy.” Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir. 1984). In other words,

“the outcome [of the proceeding] could alter the debtor’s rights, liabilities, options, or

freedom of action (either positively or negatively) and [could] in any way impact[] upon

the handling and administration of the bankrupt estate.” Id.

       Under the Pacor test, the proximity of the relationship between the debtor and

non-debtor defendants controls whether “related to” jurisdiction applies. Claims against

parties closely affiliated with the debtor, such as officers, directors, and shareholders,

are likely related to the debtor’s bankruptcy case because of joint insurance coverage.

See, e.g., Lindsey v. O’Brien, Tanski, Tanzer & Young Health Care Providers (In re Dow

Corning Corp.), 86 F.3d 482, 490–94 (6th Cir. 1996); A.H. Robins v. Piccinin, 788 F.2d

994, 1007 (4th Cir. 1986) (affirming the district court’s exercise of bankruptcy jurisdiction

to stay mass tort actions against officers, directors, and employees of the debtor).

       In this case, the Insight Defendants are unaffiliated, non-debtor parties, whose

liability under Virginia law is independent of the NECC bankruptcy proceedings. They

and NECC share no common ownership structure; they share no employees; and, they

share no assets. Under these circumstances, courts have consistently and persuasively

held that mass tort claims against unaffiliated non-debtor defendants are not related to

the bankruptcy case under 28 U.S.C. § 1334(b). See, e.g., In re Federal-Mogul Global,

Inc., 300 F.3d 368 (3d Cir. 2002); Pacor, Inc., 743 F.2d at 994; GAF Corp. v. Johns-

Manville Corp. (In re Johns Manville Corp.), 26 B.R. 405 (Bankr. S.D.N.Y. 1983).

       In Pacor, the plaintiff brought suit against the Philadelphia Asbestos Co. (“Pacor”)

for work-related exposure to asbestos. 743 F.2d at 986. Pacor filed a third-party

complaint, alleging that the Johns-Manville Corporation was the original provider of the



                                             6
         Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 7 of 15




asbestos. Id. Johns-Manville filed for Chapter 11 bankruptcy protection, and Pacor

sought transfer to the district court in the bankruptcy forum. Id. The district court held

that the original suit against Pacor was not “related to” the bankruptcy proceedings

under 28 U.S.C. § 1471(b) (the predecessor statute to 28 U.S.C. § 1334(b)). Id. On

appeal, the Third Circuit agreed with the plaintiff and held the original suit was unrelated

to the Title 11 proceedings. Id. at 994. “For subject matter jurisdiction to exist, therefore,

there must be some nexus between the ‘related’ civil proceeding and the title 11 case.”

Id. at 994 (citing In re Hall, 30 B.R. 799, 802 (M.D.Tenn.1983); 1 COLLIER ON

BANKRUPTCY ¶ 3.01, at 3-48 to 3-49 (15th ed. 1982)).

         As Pacor emphasized, “the mere fact that there may be common issues of fact

between a civil proceeding and a controversy involving the bankruptcy estate does not

bring the matter within the scope of section 1471(b).” Id. In these cases, the only issue

of fact that remotely overlaps with the NECC proceedings concerns the distribution of

contaminated MPA to Virginia, and that issue is unlikely to be litigated to any significant

degree in the bankruptcy forum because no party, including NECC or the Insight

Defendants, will deny that the contaminated MPA caused the meningitis that infected

the Roanoke Frith & Ellerman Plaintiffs.3 Thus, the Trustee’s call to consolidate “[e]xpert

discovery, general medical causation and other scientific matters” has little bearing on

the outcome of the non-debtor cases against the Insight Defendants, which will involve

an entirely different set of facts and proof at trial.




3 “Much of the work of developing and pursuing claims against some non-NECC defendants can and should be done by

lawyers in states, such as Tennessee and Michigan, where the claims are clustered in state court proceedings…[t]his case
has relatively little need to delve into science with experts to prove a drug is less effective than promised, or show the
mechanism of the action for causing deaths… .” Thomas M. Sobol, Letter to the United States District Court for the
District of Massachusetts, C.A. No.: 13-md-2419-FDS, February 27, 2013.

                                                            7
       Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 8 of 15




       The salient issues in the Roanoke cases are similar to Pacor. The claims arise

under facts that are distinct from the bankruptcy proceedings. Indeed, a transfer to the

bankruptcy forum would frustrate the discovery process and increase the costs to the

efficient resolution of the Insight claims. The witnesses in the Roanoke cases – the

medical providers and their employees – are located hundreds of miles from

Framingham, Massachusetts. As Attorney Sobol noted in his letter to the Court, the

local attorneys are best positioned to fairly and expeditiously obtain discovery in claims

against the non-debtor defendants. Further, the Insight Defendants are independently

liable for committing actual fraud, and not merely because they were participants in the

chain of distribution. The identity of the underlying drug was ancillary to the Insight

Defendants’ fraudulent conduct, which under Virginia law, is a separate claim. The

Roanoke cases are different from the NECC proceedings because they involve conduct

separate and apart from the products liability claims: the misuse, misidentification, and

misrepresentation of the drug the Insight Defendants injected into the plaintiffs.

       If the Roanoke Frith & Ellerman Plaintiffs obtain a judgment, the Pacor case

recognized that distributors may find it difficult to seek recovery from the manufacturer

of a defective product that declares bankruptcy. 743 F.2d at 996. But as the Third

Circuit stated, “[m]iddlemen always face the possibility…that attempts to recoup such

losses from their manufacturers or suppliers will be hindered, or even unsuccessful, and

there is never a guarantee that the original manufacturers will not be judgment proof or

found not susceptible to process.” Id. Just as Pacor could not shield itself from the full

measure of its liability by tagging along in Manville’s bankruptcy, the Insight Defendants

should not be permitted to escape judgment in the NECC proceedings.



                                             8
       Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 9 of 15




B.     The Insight Defendants’ potential, unliquidated claim for contribution
       against NECC is insufficient to confer “related to” jurisdiction.

       The Insight Defendants’ assertion of a potential, unliquidated claim for

contribution in the event that the Roanoke Frith & Ellerman Plaintiffs obtain a judgment

is insufficient to confer “related to” jurisdiction under 28 U.S.C. § 1334(b).

       The Pacor case expressly held that Pacor’s third-party complaint against Johns-

Manville for contribution or indemnity was patently insufficient to confer jurisdiction. Id.

at 995 (“At best, it is a mere precursor to the potential third party claim for

indemnification by Pacor against Manville.”). The Third Circuit persuasively held that a

claim for contribution of indemnity had no effect on the bankruptcy estate because the

outcome of the plaintiff’s non-debtor case against Pacor was pending and uncertain. Id.

Of course, if Pacor later brought a third party claim, the outcome in the plaintiff’s non-

debtor case would in no way bind the bankruptcy estate because “Manville is not a party

to the Higgins-Pacor action” and the debtor would still be able to relitigate any issue and

adopt any position in a subsequent claim and without prejudice. Id. Simply put, “the

bankruptcy estate could not be affected in any way until the Pacor-Manville third party

action is actually brought and tried.” Id.

       The same result should follow in this case. The Insight Defendants may have a

potential, unliquidated claim for contribution against NECC or its distributors, but such

claim does not accrue unless the Roanoke Frith & Ellerman Plaintiffs obtain a judgment.

Only then would the Insight Defendants be able to bring such a claim under Virginia law,

and even in those circumstances, the debtor would not be precluded from raising any

defense it may have to the contribution or indemnity claims; indeed, the outcome of the



                                              9
      Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 10 of 15




trial would have no effect on the bankruptcy estate because it would be entitled to the

same defenses whether or not the claim is asserted now or a later date. Until such time,

the remote possibility of such a claim is insufficient to confer jurisdiction.

       The Court’s “related to” jurisdiction does not stretch to cover every conceivable

claim tangentially related to contaminated MPA; rather, there must be some proximate

connection between the debtor and non-debtor cases. In this case, the claims against

the Insight Defendants are separate and distinct from the NECC products liability

claims. The Insight Defendants were not mere participants in the chain of distribution;

rather, they misrepresented the identity of the product they injected into the plaintiffs. As

unaffiliated, non-debtor defendants, their independently tortious conduct should be

litigated in Roanoke courts.


C.     The Roanoke cases are subject to abstention under 28 U.S.C. § 1334(c)(1).

       Even if the Court concludes the plaintiff’s claims are related to the bankruptcy

case, the Roanoke cases are subject to abstention under 28 U.S.C. § 1334(c)(1).

       A district court may abstain from exercising jurisdiction over civil proceedings

related to the bankruptcy case “in the interest of justice, or in the interest of comity with

State courts or respect for State law.” Id. In addition to these three criteria, the First

Circuit has held that additional factors may weigh in favor of abstention: (a) the extent to

which state law issues predominate over bankruptcy issues; (b) the presence of a

related proceeding commenced in state court or other non-bankruptcy court; and, (c)

the likelihood that the commencement of the proceeding in bankruptcy court involves

forum shopping by one of the parties. In re Middlesex Power Equipment & Marine, Inc.,

292 F. 3d 61, 69-70 (1st Cir. 2002) (citing Christensen v. Tucson Estates, Inc. (In re

                                              10
      Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 11 of 15




Tucson Estates, Inc.), 912 F.2d 1162, 1166-67 (9th Cir.1990) (quoting Republic

Reader's Serv., Inc. v. Magazine Serv. Bureau, Inc. (In re Republic Reader's Serv.,

Inc.), 81 B.R. 422, 429 (Bankr.S.D.Tex.1987)) (internal quotations omitted) (adopting a

twelve-factor test to ascertain whether permissive abstention is appropriate in any given

case); see also In re Chicago, Milwaukee, St. Paul & Pac. R.R. Co., 6 F.3d 1184, 1189

(7th Cir.1993)).

       Applying the factors from the Middlesex Power decision, the Roanoke Frith &

Ellerman Plaintiffs urge the Court to abstain from exercising jurisdiction over the Virginia

non-debtor cases pursuant to 28 U.S.C. § 1334(c)(1):


       1. Virginia state law predominates over the claims, and in the allegations against

          the Insight Defendants of actual fraud, involve novel legal theories under state

          law. The remote possibility of a claim of contribution or indemnity in the

          bankruptcy proceedings would not even arise until these difficult Virginia law

          issues are addressed, an eventuality that is best served by keeping the

          Roanoke cases in Virginia courts where these issues can be litigated.


       2. The Trustee admits that the primary purpose of its transfer motion is to

          consolidate claims against NECC, not the Insight Defendants, arising from the

          injection of MPA. See Trustee’s Motion, p. 2. (“These personal injury and

          wrongful death claims represent the vast majority of claims against the

          Debtor’s estate.”). If the primary goal of the transfer is to consolidate all of the

          mass tort cases pending against the debtor, there may be no need to incur




                                             11
      Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 12 of 15




           the trouble and expense involved in physically transferring dozens of

           unrelated cases from Roanoke to the bankruptcy district.


       The circumstances in this case regarding claims against non-debtor parties is

similar to the Middlesex Power case and the First Circuit’s affirmance of the district

court’s decision to abstain should be followed.

       In Middlesex Power, the trustee for the Middlesex Power Equipment & Marine,

Inc. (“Middlesex Power”) auctioned the debtor’s real estate in Tyngsborough to New

England Power & Marine, Inc. (“NEPM”). 292 F. 3d at 64. NEPM failed to pay property

taxes, and the town of Tyngsborough brought suit in Massachusetts state court. Id.

NEPM moved the bankruptcy court to reopen the estate, which was denied, and on

appeal the district court abstained to exercise jurisdiction. Id. at 65.

       The First Circuit affirmed the district court’s decision to abstain. Id. at 68. It was

immaterial whether the proceeding was “related to” or “arising in” a case under Title 11;

either way, the district court could choose to abstain. 28 U.S.C. § 1334(c)(1) (“[n]othing

in this section prevents a district court…from abstaining from hearing a particular

proceeding arising under title 11 or arising in or related to a case under title 11”). The

First Circuit held that courts have broad discretion to decline from hearing “state law

claims whenever appropriate ‘in the interest of justice, or in the interest of comity with

State courts or respect for State law.’” Id. at 69. Since the case against the non-debtor

was unrelated to the bankruptcy proceedings, and indeed governed by state law, the

First Circuit affirmed the district court’s decision to abstain. Id.

       In seeking to transfer cases against the non-debtor defendants, the Trustee’s

reliance on the Sixth Circuit’s in the Dow Corning case is misplaced. The Sixth Circuit

                                               12
      Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 13 of 15




did hold under the unique facts in that case that claims against other breast implant

manufacturers fell within related-to jurisdiction, because the prosecution of such claims

could lead to claims for contribution or indemnity against the debtor. Lindsey, 86 F.3d at

494. But even in that case, the district court abstained from exercising its jurisdiction to

transfer the litigation against the other breast implant manufacturers, and the Sixth

Circuit denied those parties’ petitions for mandamus. In re Dow Corning Corp., No. 95-

CV-72397-DT, 1996 WL 511646, at *4 (E.D. Mich. July 30, 1996); Lindsey v. Dow

Chem. Corp. (In re Dow Corning Corp.), 113 F.3d 565, 572 (6th Cir. 1997). Thus, there

has been no case in which the bankruptcy of one defendant has been used to achieve a

global resolution of a mass tort litigation against an entire industry. GAF Corp., 26 B.R.

405, 409 (rejecting non-debtor codefendants’ proposal for “an industry-wide solution of

the entire asbestos health-related problem,” despite finding it “tempting”); see also In re

Federal-Mogul Global, Inc., 300 F.3d 368 (3d Cir. 2002).


                                        Conclusion

       The fact that the Insight Defendants fraudulently and negligently prescribed MPA,

as opposed to any other drug, does not automatically remove every case involving MPA

to the NECC bankruptcy forum. The claims against the Insight Defendants will involve

different evidence, different witnesses, and different theories of recovery. It’s not MPA

that will be on trial in Roanoke; it’s Insight’s utterly shocking conduct in ordering a drug,

misrepresenting the identity of that drug to its patients, and failing to exercise

reasonable care in the selection of a safe product. The Insight claims are predicated on

negligence, not products liability, and require separate discovery, separate proof, and

separate pretrial hearings.

                                             13
      Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 14 of 15




      For the foregoing reasons, the Roanoke Frith & Ellerman Plaintiffs respectfully

request that the Trustee’s motion to transfer the Roanoke non-debtor cases be denied.


                                        Respectfully submitted,


                                        ROANOKE FRITH & ELLERMAN PLAINTIFFS


                                        /s/ Robert E. Dean, II
                                        _______________________________
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                                          14
      Case 1:13-md-02419-RWZ Document 115 Filed 05/02/13 Page 15 of 15




                             CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on this 2nd day of May 2013, a true and

exact copy of the foregoing was filed with this Court’s CM/ECF filing system, thereby

providing electronic notice to those counsel of record listed below who are registered

users of the system. The undersigned also certifies that on this 2nd day of May 2013, a

true and exact copy of the foregoing was mailed to the following counsel of record:


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                                         /s/ Robert E. Dean, II
                                         _______________________________




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